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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Liddle & Robinson, L.L.P.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1177 Avenue of the Americas, 5th Floor
                                  New York, NY 10036
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.liddlerobinson.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Liddle & Robinson, L.L.P.                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                Case number
                                                 District                                 When                                Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,                                                                                                                Managing
     attach a separate list                      Debtor     Jeffrey Lew Liddle                                            Relationship              Partner
                                                            Southern District of
                                                 District   New York                      When     3/11/19                Case number, if known     19-10747



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Debtor   Liddle & Robinson, L.L.P.                                                               Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or       No
    have possession of any
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                                25,001-50,000
    creditors                    50-99                                          5001-10,000                                50,001-100,000
                                 100-199                                        10,001-25,000                              More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Liddle & Robinson, L.L.P.                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 22, 2019
                                                  MM / DD / YYYY


                             X   /s/ Jeffrey Lew Liddle                                                   Jeffrey Lew Liddle
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Managing Partner




18. Signature of attorney    X   /s/ William F. Gray, Jr.                                                  Date July 22, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 William F. Gray, Jr.
                                 Printed name

                                 Foley Hoag LLP
                                 Firm name

                                 1301 Avenue of the Americas, 25th Floor
                                 New York, NY 10019-6022
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     646-927-5549                  Email address      wgray@foleyhoag.com

                                 1716182 NY
                                 Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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 Fill in this information to identify the case:
 Debtor name Liddle & Robinson, L.L.P.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                     Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 800 Third Avenue                Jeffrey Klarsfeld,              Judgment               Disputed                                                                        $646,223.09
 Associates                      Esq.
 c/o Platte, Klarsfled
 & Levine                        jklarsfeld@
 10 East 40th Street,            plattelaw.com
 46th Fl
 New York, NY 10016              (212) 726-4423
 Andrea M. Paparella             Andrea M.                       Equal Pay              Contingent                                                                  $32,000,000.00
 150 West 28th St.               Paparella                       Discrimination         Unliquidated
 Suite 1603                                                      Lawsuit                Disputed
 New York, NY 10001              ap@andreapaparell                                      Subject to
                                 a.com                                                  Setoff
                                 (212) 675-2523
 Blank Rome LLP                  Lisa McLeod       Legal Fees                           Contingent                                                                        $83,269.58
 One Logan Square                                                                       Unliquidated
 130 North 18th                  lmcleod@                                               Disputed
 Street                          blankrome.com                                          Subject to
 Philadelphia, PA                                                                       Setoff
 19103-6998                      (215) 988-3084
 Bloomberg BNA                   Sonia Green                     Software/Subscrip                                                                                        $33,234.09
 P.O. Box 17009                                                  tion Fees
 Baltimore, MD                   sgreen@bna.com
 21297-1009
                                 (301) 280-2173
 Canon Financial                 Stephanie R.                    Maintenance Fees Disputed                                                                                $43,977.38
 Services, Inc.                  Levine
 c/o Platzer,
 Swergold, Levine,               stephanielevine@p
 Goldberg, Katz &                latzerlaw.com
 Jaslow, LLP
 475 Park Ave South              (212) 593-3000
 New York, NY 10016
 Counsel Financial               Felice Callahan                 Loan                   Contingent                                                                    $1,906,621.00
 Holdings, LLC                                                                          Unliquidated
 6400 Main Street,               info@counselfinan                                      Disputed
 Suite 120                       cial.com                                               Subject to
 Williamsville, NY                                                                      Setoff
 14221                           (800) 820-4430

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Liddle & Robinson, L.L.P.                                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Counsel Financial II,           David H. Wander,                Loan                   Contingent                                                                    $6,546,448.83
 LLC                             Esq.                                                   Unliquidated
 605 Third Avenue                                                                       Disputed
 Davidoff Hutcher &              dhw@                                                   Subject to
 Citron LLP                      dhclegal.com                                           Setoff
 New York, NY 10158              (212) 557-7200
 DeLage Landen Fin'l             Bryan E. Wolkind,               Guarantee-Lease        Contingent                                                                      $197,310.50
 Services                        Esq.                            Charge                 Disputed
 880 Fifth Avenue                                                                       Subject to
 Suite 1401           bwolkind@                                                         Setoff
 New York, NY 10011   foster-wolkind.com
                      (212) 691-2313
 Effat S. Emamian     Andrew Lavoott     Legal Malpractice                              Contingent                                                                  $15,000,000.00
 233 Broadway, Suite Bluestone           Suit                                           Unliquidated
 2702                                                                                   Disputed
 New York, NY 10279 ALB@bluestonela                                                     Subject to
                      wfirm.com                                                         Setoff
                      (212) 791-5600
 Eisner, P.C.         Michael Eisner     Legal Fees                                     Contingent                                                                      $138,948.42
 152 West 57th Street                                                                   Unliquidated
 48th Floor           meisner@                                                          Disputed
 New York, NY 10019 eisnerlaw.com                                                       Subject to
                      (646) 876-2600                                                    Setoff
 Globe Storage &      Alan Fleisher      Storage Fees                                                                                                                     $55,556.64
 Moving Co.
 c/o Law Firm of      afleischer@
 Elias Schwartz       globemoving.com
 343 Great Neck
 Road                 (212) 925-6773
 Great Neck, NY
 11021
 Iron Mountain        Curt Winters       Storage Fees                                                                                                                     $36,741.56
 Records Mgmt
 P.O. Box 27128       curtis.winters@
 New York, NY         iqor.com
 10087-7128           (800) 999-9407
 Joseph P. Day        Nick Steixner      Rent                                           Disputed                                                                        $889,453.29
 Realty
 9 East 40th Street   nick8003rd@
 8th Fl               aol.com
 New York, NY 10016 (212) 888-0935
 Kasowitz Benson      Joshua Siegel,     Legal Fees                                     Disputed                                                                        $208,730.59
 Torres LLP           Esq.
 1633 Broadway
 New York, NY 10019 jsiegel@
                      kasowitz.com
                      (212) 506-1700
 LIG Capital, LLC     Megan Payne        Guarantor                                      Contingent                                                                      $634,910.04
 6400 Main Street                        Obligation                                     Unliquidated
 Suite 120            info@counselfinan                                                 Disputed
 Williamsville, NY    cial.com                                                          Subject to
 14221                (800) 820-4430                                                    Setoff


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Liddle & Robinson, L.L.P.                                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Michael Barr                    Alan A. Heller, Esq. Legal Malpractice                 Contingent                                                                    $6,500,000.00
 c/o Garvey Schubert                                  Suit                              Unliquidated
 Barer                           aheller@                                               Disputed
 100 Wall St 20th Fl             gsblaw.com
 New York, NY 10005              (212) 965-4526
 Rose M. Reverendo               Rose M. Reverendo Payroll and                                                                                                            $28,344.55
 811 Floral Avenue                                    reimbursements
 Elizabeth, NJ 07208             rreverendo@
                                 liddlerobinson.com
                                 (646) 452-7211
 Solarus                         Matthew Nikravesh IT Server Fees                                                                                                         $54,500.00
 Technologies
 14 Penn Plaza                   matthew@
 Suite 1402                      solarustech.com
 New York, NY 10122              (212) 606-2210
 Veritext New York               Deborah Neiderfer               Court reporting                                                                                        $164,136.48
 Reporting Co                                                    fees
 PO Box 71303                    dneiderfer@
 Chicago, IL                     veritext.com
 60694-1303                      (212) 490-3430
 Wilson Elser                    Nyasha Goodyear                 Legal Fees                                                                                               $27,099.10
 Moskowitz Edelman
 & Dicker LLP                    nyasha.goodyear@
 1133 Westchester                wilsonelser.com
 Avenue                          (914) 872-7663
 White Plains, NY
 10604




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name         Liddle & Robinson, L.L.P.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                     Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                 Amount of claim             Value of collateral
                                                                                                                                                 that supports this
                                                                                                                     Do not deduct the value     claim
                                                                                                                     of collateral.

 2.1
       800 Third Avenue
       Associates                                     Describe debtor's property that is subject to a lien                  $646,223.09                     $100.00
       Creditor's Name
                                                      Bank Accounts
       c/o Platte, Klarsfled &
       Levine
       10 East 40th Street, 46th Fl
       New York, NY 10016
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
       jklarsfeld@plattelaw.com                           No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       Joseph P. Day Realty


       Counsel Financial
 2.2                                                                                                                      $1,906,621.00             $2,000,000.00
       Holdings, LLC                                  Describe debtor's property that is subject to a lien
       Creditor's Name
                                                      Accounts receivable arising from judgments and settlement
       6400 Main Street, Suite 120                    amounts
       Williamsville, NY 14221
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
       info@counselfinancial.com                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 3
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 Debtor       Liddle & Robinson, L.L.P.                                                                 Case number (if know)
              Name

           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       Counsel Financial II, LLC; LIG
       Capital, LLC


 2.3   Counsel Financial II, LLC                      Describe debtor's property that is subject to a lien                  $6,546,448.83     $2,000,000.00
       Creditor's Name
                                                      Accounts receivable arising from judgments and settlement
       605 Third Avenue                               amounts
       Davidoff Hutcher & Citron
       LLP
       New York, NY 10158
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
       dhw@dhclegal.com                                   No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       Counsel Financial Holdings, LLC; LIG
       Capital, LLC


 2.4   Joseph P. Day Realty                           Describe debtor's property that is subject to a lien                      $889,453.29         $100.00
       Creditor's Name
                                                      Bank Accounts
       9 East 40th Street
       8th Fl
       New York, NY 10016
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
       nick8003rd@aol.com                                 No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       800 Third Avenue Associates


 2.5   LIG Capital, LLC                               Describe debtor's property that is subject to a lien                      $634,910.04   $2,000,000.00
       Creditor's Name
                                                      Accounts receivable arising from judgments and settlement
       6400 Main Street                               amounts.
       Suite 120
       Williamsville, NY 14221
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
       info@counselfinancial.com                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 3
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 Debtor       Liddle & Robinson, L.L.P.                                                                 Case number (if know)
              Name

       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       Counsel Financial Holdings, LLC; LIG
       Capital, LLC


                                                                                                                                $10,623,656.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          25

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 3 of 3
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                                                   In re Liddle & Robinson, L.L.P., Debtor
                                                                        List of Creditors
                           800 THIRD AVENUE ASSOCIATES
x
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k
b
}




                                                                             Page 1 of 11
                           C/O PLATTE, KLARSFLED & LEVINE
                           10 EAST 40TH STREET, 46TH FL
                           NEW YORK, NY 10016


                           ABA
                           POST OFFICE BOX 4745
                           CAROL STREAM, IL 60197-4745


                           ADP, LLC
                           PO BOX 842875
                           BOSTON, MA 02284-2875


                           AFCO
                           PO BOX 360572
                           PITTSBURGH, PA 15250-6572


                           ALEX RISSMILLER
                           254 WEST 71ST STREET APT. 3A
                           NEW YORK, NY 10023


                           AMERICAN COLLEGE OF
                           TRIAL LAWYERS
                           1300 DOVE STREET SUITE 150
                           NEWPORT BEACH, CA 92660


                           AMERICAN EXPRESS CORP. CARDS
                           C/O RELIN, GOLDSTEIN & CRANE
                           28 EAST MAIN STREET, STE 1800
                           ROCHESTER, NY 14614-1991


                           ANDREA M. PAPARELLA
                           150 WEST 28TH ST.
                           SUITE 1603
                           NEW YORK, NY 10001


                           APPEALTECH, LLC
                           Z J LLC DBA APPEALTECH
                           7 WEST 36TH STREET, 10TH FL
                           NEW YORK, NY 10018


                           ARANTXA KING
                           346 EAST 63RD STREET APT. 3A
                           NEW YORK, NY 10065
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                                                                    List of Creditors
                       ARCHER CONSULTANTS, INC.                          Page 2 of 11
                       1101 STEWART AVENUE
                       SUITE 300
                       GARDEN CITY, NY 11530


                       AVANT BUSINESS SERVICES
                       P.O. BOX 5952
                       GRAND CENTRAL STATION
                       NEW YORK, NY 10163-5952


                       BIA(FORMERLY US LEGAL SUPPORT)
                       BIA ACCOUNT ADMINISTRATION
                       950 TRADE CENTRE WAY, STE 240
                       PORTAGE, MI 49002


                       BLAINE H. BORTNICK
                       266 WEST 12TH STREET
                       NEW YORK, NY 10014


                       BLANK ROME LLP
                       ONE LOGAN SQUARE
                       130 NORTH 18TH STREET
                       PHILADELPHIA, PA 19103-6998


                       BLOOMBERG BNA
                       BOOK DIVISION
                       P.O. BOX 308
                       PARLIN, NJ 08859-0308


                       BLOOMBERG BNA
                       P.O. BOX 17009
                       BALTIMORE, MD 21297-1009


                       BRAFF, HARRIS SUKONECK&MALOOF
                       P.O. BOX 657
                       570 WEST MOUNT PLEASANT AVE
                       LIVINGSTON, NJ 07039


                       CANON FINANCIAL SERVICES, INC.
                       C/O PLATZER, SWERGOLD, LEVINE
                       475 PARK AVE SOUTH
                       NEW YORK, NY 10016
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                                                                    List of Creditors
                       CANON SOLUTIONS AMERICA, INC.                     Page 3 of 11
                       C/O CAINE & WEINER
                       12005 FORD RD, STE 300
                       DALLAS, TX 75234


                       CHRISTINE PALMIERI
                       421 STELLAR AVENUE
                       PELHAM, NY 10803


                       CLIENT SECURITY FUND CONN.
                       P.O. BOX 1379
                       HARTFORD, CT 06143-1379


                       COFFEE DISTRIBUTING CORP.
                       200 BROADWAY
                       PO BOX
                       NEW HYDE PARK, NY 11040


                       CORNELL CLUB-NEW YORK
                       6 EAST 44TH STREET
                       NEW YORK, NY 10017


                       COUNSEL FINANCIAL HOLDINGS,
                       LLC
                       6400 MAIN STREET, SUITE 120
                       WILLIAMSVILLE, NY 14221


                       COUNSEL FINANCIAL II, LLC
                       605 THIRD AVENUE
                       DAVIDOFF HUTCHER & CITRON LLP
                       NEW YORK, NY 10158


                       COUNSEL PRESS
                       P.O. BOX 65019
                       BALTIMORE, MD 21264-5019


                       CRAIG TARASOFF
                       245 EAST 63RD STREET
                       APT. 1409
                       NEW YORK, NY 10065


                       D'AMICO CERTIFIED SHORTHAND
                       P.O. BOX 380
                       BERKELEY HEIGHTS, NJ 07922
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                                                                         List of Creditors
                       DAVID I. GREENBERGER                                   Page 4 of 11
                       BAILEY DUQUETTE P.C.
                       100 BROADWAY, 10TH FLOOR
                       NEW YORK, NY 10005


                       DAVID M. MAREK
                       228 HAMILTON AVENUE
                       PALO ALTO, CA 94301


                       DEITZ NATIONWIDE COURT
                       REPORTING
                       100 MERRICK ROAD SUITE 320W
                       ROCKVILLE CENTRE, NY 11570


                       DELAGE LANDEN FIN'L SERVICES
                       880 FIFTH AVENUE
                       SUITE 1401
                       NEW YORK, NY 10011


                       DUANE MORRIS LLP
                       30 SOUTH 17TH STREET
                       PHILADELPHIA, PA 19103-4196


                       EFFAT S. EMAMIAN
                       233 BROADWAY, SUITE 2702
                       NEW YORK, NY 10279


                       EISNER, P.C.
                       152 WEST 57TH STREET
                       48TH FLOOR
                       NEW YORK, NY 10019


                       ELLEN GRAUER COURT REPORTING
                       126 EAST 56TH STREET
                       NEW YORK, NY 10022


                       EPHRON-MANDEL & HOWARD LLP
                       299 BORADWAY, SUITE 1615
                       NEW YORK, NY 10007


                       EPIQ COURT REPORTING
                       P.O. BOX 936158
                       ATLANTA, GA 31193-6158
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                                                                         List of Creditors
                       ETHAN A. BRECHER                                       Page 5 of 11
                       270 PARK AVENUE S
                       APT. 9-G
                       NEW YORK, NY 10010-6105


                       FEDERAL BAR COUNCIL
                       150 BROADWAY
                       SUITE 505
                       NEW YORK, NY 10038


                       GLOBAL CAPACITY
                       DEPT 33408
                       PO BOX 39000
                       SAN FRANCISCO, CA 94139-0001


                       GLOBE STORAGE & MOVING CO.
                       C/O LAW FIRM OF ELIAS SCHWARTZ
                       343 GREAT NECK ROAD
                       GREAT NECK, NY 11021


                       HARTFORD
                       THE HARTFORD
                       PO BOX 660916
                       DALLAS, TX 75266-0916


                       IRON MOUNTAIN RECORDS MGMT
                       P.O. BOX 27128
                       NEW YORK, NY 10087-7128


                       ITC COMMUNICATIONS
                       831 LITTLE BRITAIN ROAD
                       SUITE 300
                       NEW WINDSOR, NY 12553


                       JAMES A. BATSON
                       26 OLD OAK ROAD
                       GREENWICH, CT 06830


                       JAMES R. HUBBARD
                       2308 ENVIRON WAY
                       CHAPEL HILL, NC 27517


                       JAMES W. HALTER
                       310 EAST 65TH STREET
                       APT. PHB
                       NEW YORK, NY 10065
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                                                                         List of Creditors
                       JEFFREY LIDDLE                                         Page 6 of 11
                       420 EAST 54TH STREET APT. 713
                       NEW YORK, NY 10022


                       JOSEPH ORTIZ
                       555 KAPPOCK STREET
                       BRONX, NY 10463


                       JOSEPH P. DAY REALTY
                       9 EAST 40TH STREET
                       8TH FL
                       NEW YORK, NY 10016


                       KASOWITZ BENSON TORRES LLP
                       1633 BROADWAY
                       NEW YORK, NY 10019


                       KEATING & WALKER
                       116 NASSAU STREET, STE 816
                       NEW YORK, NY 10038


                       LAWPRESS CORPORATION
                       PO BOX 29
                       ALAMEDA, CA 94501-0329


                       LDI COLOR TOOLBOX
                       C/O SMITH CARROAD LEVY WAN
                       5036 JERICHO TURNPIKE, STE 201
                       COMMACK, NY 11725


                       LEXIS-NEXIS-CONCORDANCE
                       MATTHEW BENDER & CO INC
                       PO BOX 7247-0178
                       PHILADELPHIA, PA 19170-0178


                       LEXISNEXIS MATTHEW BENDER
                       MATTHEW BENDER & CO INC
                       PO BOX 7247-0178
                       PHILADELPHIA, PA 19170-0178


                       LIG CAPITAL, LLC
                       6400 MAIN STREET
                       SUITE 120
                       WILLIAMSVILLE, NY 14221
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                                                                         List of Creditors
                       LOCKE LORD, LLP                                        Page 7 of 11
                       200 VESEY STREET, 20TH FLOOR
                       NEW YORK, NY 10281


                       MAGNA LEGAL SERVICES LLC
                       SEVEN PENN CENTER
                       1625 MARKET STREET, 8TH FL
                       PHILADELPHIA, PA 19103


                       MARC A. SUSSWEIN
                       84 EDGEWOOD AVENUE
                       LARCHMONT, NY 10538


                       MARCOS NADAL
                       35 DAVENPORT AVE. APT. 1J
                       NEW ROCHELLE, NY 10805


                       MARY T. BARBIARZ
                       COURT REPORTING SERVICE, INC.
                       11 MARKET STREET, SUITE 215
                       POUGHKEEPSIE, NY 12601


                       MATTHEW MCCANN
                       549 STEWART AVENUE
                       NEW HYDE PARK, NY 11040


                       MCMANIMON, SCOTLAND & BAUMANN
                       75 LIVINGSTON AVENUE
                       ROSELAND, NJ 07068


                       MICHAEL BARR
                       C/O GARVEY SCHUBERT BARER
                       NEW YORK, NY 10005


                       MICHAEL E. GRENERT
                       200 RIVERSIDE BLVD. #14E
                       NEW YORK, NY 10069


                       MONTGOMERY MCCRACKEN WALKER
                        & RHOADS LLP
                       1735 MARKET STREET
                       PHILADELPHIA, PA 19103-7505
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                                                                         List of Creditors
                       NEW YORK CITY BAR                                      Page 8 of 11
                       42 WEST 44TH STREET
                       NEW YORK, NY 10036


                       NEW YORK STATE INS FUND
                       NYSIF WORKER'S COMPENSATION
                       PO BOX 5328
                       NEW YORK, NY 10008-5238


                       NJ LAWYERS' FUND
                       P.O. BOX 961
                       TRENTON, NJ 08625-0961


                       NUANCE DOCUMENT IMAGING
                       EQUITRAC 7841
                       PO BOX 7247
                       PHILADELPHIA, PA 19170-7841


                       NYS WORKERS' COMPENSATION BD
                       ATTN: FINANCE OFFICE
                       328 STATE ST, RM 331
                       SCHENECTADY, NY 12305-2302


                       PITNEY BOWES
                       C/O ALLEN MAXWELL & SILVER
                       PO BOX 540
                       FAIR LAWN, NJ 07410


                       PLANET DEPOS, LLC
                       405 EAST GUDE DRIVE
                       SUITE 209
                       ROCKVILLE, MD 20850


                       PRACTISING LAW INSTITUTE
                       810 SEVENTH AVENUE
                       NEW YORK, NY 10019-5818


                       PRINTINGHOUSE PRESS
                       10 EAST 39TH STREET
                       7TH FL
                       NEW YORK, NY 10016


                       READ MCCAFFREY
                       68 COMMONWEALTH AVE.
                       BOSTON, MA 02116
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                       RELIABLE PHILADELPHIA                                  Page 9 of 11
                       RELIABLE PHILADELPHIA
                       1650 ARCH STREET, SUITE 2210
                       PHILADELPHIA, PA 19103


                       ROBERT ADLER
                       6650 SOUTH ORIOLE BOULEVARD
                       APT. E102
                       DELRAY BEACH, FL 33446


                       ROSE M. REVERENDO
                       811 FLORAL AVENUE
                       ELIZABETH, NJ 07208


                       SECURITIES ARBITRATION
                          COMMENTATOR, INC.
                       PO BOX 112
                       MAPLEWOOD, NJ 07040


                       SECURITIES LITIGATION
                           COMMENTATOR, INC.
                       PO BOX 112
                       MAPLEWOOD, NJ 07040


                       SHELTERPOINT
                       (FORMERLY FIRST REHAB)
                       1225 FRANKLIN AVE, STE 475
                       GARDEN CITY, NY 11530


                       SHERRY SHORE
                       200 EAST 23RD APT. 3J
                       NEW YORK, NY 10016


                       SMITHSONIAN
                       MEMBERSHIP-DATA CENTER
                       PO BOX 62170
                       TAMPA, FL 33663-1703


                       SOFTWARE TECHNOLOGY
                       (BILLING PROGRAM)
                       1621 CUSHMAN DRIVE
                       LINCOLN, NE 68512-1237
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                                                                         List of Creditors
                       SOLARUS TECHNOLOGIES                                  Page 10 of 11
                       14 PENN PLAZA
                       SUITE 1402
                       NEW YORK, NY 10122


                       SOUTHERN DISTRICT REPORTERS
                       ROOM 330, US COURTHOUSE
                       500 PEARL STREET
                       NEW YORK, NY 10007


                       SPECTRUM (TIME WARNER)
                       TIME WARNER CABLE
                       PO BOX 11820
                       NEWARK, NJ 07101-8120


                       STAPLES BUSINESS ADVANTAGE
                       DEPT NY, PO BOX 415256
                       BOSTON, MA 02241-5256


                       TRANSPERFECT TRANSLATIONS
                       INTERNATIONAL INC/ACCT. REC.
                       THREE PARK AVE, 39TH FL
                       NEW YORK, NY 10016


                       TRENK DIPASQUALE
                       347 MT. PLEASANT AVE STE 300
                       WEST ORANGE, NJ 07052-2730


                       TSG REPORTING, INC.
                       747 THIRD AVENUE, SUITE 10A
                       NEW YORK, NY 10017


                       U.S. LEGAL SUPPORT - TX
                       P.O. BOX 4772-99
                       HOUSTON, TX 77210-4772


                       UNINSURED EMPLOYERS FUND
                       WORKERS COMP BOARD/FINANCE OFF
                       328 STATE STREET
                       SCHENECTADY, NY 12305-2318


                       UNITED LAWYERS SERVICE
                       299 BROADWAY, STE 300
                       NEW YORK, NY 10007
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                                                                    List of Creditors
                       VERITEXT NEW YORK REPORTING CO                   Page 11 of 11
                       PO BOX 71303
                       CHICAGO, IL 60694-1303


                       VERIZON
                       PO BOX 15124
                       ALBANY, NY 12212-5124


                       VERIZON CONFERENCING
                       PO BOX 15043
                       ALBANY, NY 12212-5043


                       WEST GROUP
                       THOMSON REUTERS - WEST
                       PO BOX 6292
                       CAROL STREAM, IL 60197-6292


                       WESTLAW
                       THOMSON REUTERS - WEST
                       PO BOX 6292
                       CAROL STREAM, IL 60197-6292


                       WILSON ELSER MOSKOWITZ EDELMAN
                       & DICKER LLP
                       1133 WESTCHESTER AVENUE
                       WHITE PLAINS, NY 10604


                       WINDHAM PROFESSIONALS
                       5680 MAIN STREET
                       LOWER LEVEL
                       WILLIAMSVILLE, NY 14221


                       WOLTERS KLUWER
                       PO BOX 71881
                       CHICAGO, IL 60694-1882
